      Case 1:14-cv-02014-JEB Document 41 Filed 11/20/15 Page 1 of 2




                       UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA



GOLD RESERVE INC.,

     Petitioner,
            v.                                        Civil Action No. 14-2014 (JEB)
BOLIVARIAN REPUBLIC OF
VENEZUELA,

     Respondent.


                                        ORDER

    As set forth in the accompanying Memorandum Opinion, the Court ORDERS that:

       1. Respondent’s Motion to Dismiss or in the Alternative to Stay Enforcement is

           DENIED;

       2. Petitioner’s Petition to Confirm Arbitration Award is GRANTED;

       3. The Award of the Arbitral Tribunal is CONFIRMED; and

       4. Judgment for Gold Reserve Inc. is ENTERED in the amount of $713,032,000.00,

           plus (i) pre-award interest from April 14, 2008, to September 22, 2014 (the date

           of the Award) at the United States Government Treasury Bill Rate, compounded

           annually, in the amount of $22,299,576, (ii) post-award interest on the total

           amount awarded, inclusive of pre-award interest, at a rate of LIBOR plus 2%,

           compounded annually, from September 22, 2014, until payment in full; and (iii)

           the $5 million in legal fees and costs awarded by the Tribunal.




                                            1
        Case 1:14-cv-02014-JEB Document 41 Filed 11/20/15 Page 2 of 2




   SO ORDERED.


                                          /s/ James E. Boasberg
                                          JAMES E. BOASBERG
                                          United States District Judge

Date: November 20, 2015




                                      2
